         Case 1:18-cr-00224-AJN Document 395 Filed 11/20/20 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007




                                                     November 20, 2020




The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

   Re:     United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

         The Government has just filed its response to defense counsel’s November 13, 2020 letter,
with this Court. Since defense counsel filed their letter under seal, we have done the same with
our reply. (See Dkt. 394). We respectfully request that the Court treat our filing like the defense
letter for purpose of any unsealing.


                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             Acting United States Attorney


                                         by: _____________________________
                                             JOHN M. McENANY
                                             Associate United States Attorney
                                             (212) 637-2571
